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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

DESHANDA CRUSSELL, as                                                                   PLAINTIFF
Next Friend and Custodial
Parent of J.C., a Minor

VS.                                  CASE NO. 4:06-CV-4042

ELECTROLUX HOME
PRODUCTS, INC. a Foreign Corporation                                                  DEFENDANT

                                              ORDER

       Before the Court is a Motion to Dismiss for Failure to State a Claim Upon Which Relief May

Be Granted, (Doc. 9) filed on behalf of Defendant Electrolux Home Products, Inc. (“Electrolux”).

Electrolux argues that Plaintiff Deshanda Crussell’s claims–seeking recovery for negligent personal

injury to her unborn child–are not recognized by the courts of Arkansas and should be dismissed

pursuant to Fed. R. Civ. P. 12(b)(6). Electrolux also filed a Motion for Summary Judgment based

on the purported failure of Plaintiff’s cause of action. (Doc. 7-1). Plaintiff has responded to

Electrolux’s motions. (Docs. 26, 28). Electrolux has replied to Plaintiff’s responses. (Docs. 34, 35).

The Court held a hearing on the matter on April 5, 2007. (Doc. 44). For the reasons stated in the

Memorandum Opinion of even date, Electrolux’s Motions to Dismiss for Failure to State a Claim

Upon Which Relief May Be Granted and for Summary Judgment should be and hereby are

DENIED.

       IT IS SO ORDERED, this 10th day of August, 2007.

                                                             /s/ Harry F. Barnes
                                                      Hon. Harry F. Barnes
                                                      United States District Judge
